Case 1:24-cv-22883-KMW Document 6 Entered on FLSD Docket 08/07/2024 Page 1 of 2

RETURN OF SERVICE

UNITED STATES DISTRICT COURT
SOUTHERN District of Florida

Case Number: 1:24-CV-22883-KMW

Plaintiff:
CARLOS BRITO

VS.

Defendant:
PROLOGIS, L.P. F/K/A AMB PROPERTY, L.P.; AND PECLAU LLC D/B/A
BOCAS GRILL;

For:

Beverly Virues, Esq.
GARCIA-MENOCAL P.L.
350 SEVILLA AVENUE
SUITE 200

CORAL GABLES, FL 33134

Received by LINDSAY LEGAL SERVICES, INC. on the 30th day of July, 2024 at 12:59 pm to be served on
PROLOGIST, L.P. F/K/A AMB PROPERTY C/O CORPORATION SERVICE COMPANY AS R/A, 1201 HAYS
STREET, TALLAHASSEE, FL 32301-2525.

|, MICHAEL C. NOLAN, do hereby affirm that on the 31st day of July, 2024 at 8:35 am, |:

CORPORATE: served by delivering a true copy of the SUMMONS IN A CIVIL ACTION AND COMPLAINT with the
date and hour of service endorsed thereon by me, to: SHEENA BLACK as AUTHORIZED REPRESENTATIVE for
the Registered Agent of PROLOGIST, L.P. F/K/A AMB PROPERTY C/O CORPORATION SERVICE COMPANY AS
R/A at the address of: 1201 HAYS STREET, TALLAHASSEE, FL 32301-2525, and informed said person of the
contents therein, in compliance with state statutes.

Description of Person Served: Age: 35+, Sex: F, Race/Skin Color: WHITE, Height: 5'6, Weight: 145, Hair: BROWN,
Glasses: N

| certify that | am over the age of 18, have no interest in the above action. and am a Certified Process Server, in
good standing, in the judicial circuit in which the process was served. Under penalty of perjury | declare that the
facts contained herein are true to the best of my knowledge.NO NOTARY REQUIRED PURSUANT TO FS

(2).

MICHAEL C.
Certified Process Server, #111

LINDSAY LEGAL SERVICES, INC.
7105 SW 8th STREET

SUITE 307

MIAMI, FL 33144

(305) 273-0317

Our Job Serial Number: RLA-2024001833
Ref: 11163

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Case 1:24-cv-22883-KMW Document 3 Entered on FLSD Docket 07/30/2024 Page 2 of 2

AO 440 (Rev. 96/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

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Southern District of Florida.. TL i |
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OS BRIT © ) Circuit and C Co puree é Sourts in and for ths
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) vecond Judicial Circuit
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Plaintiffs)

¥ : Civil Action No. 1:24-cv-22883-KMW
PROLOGIS, L.P. f/k/a AMB Perens LP. and )
PECLAU LLC d/b/a BOCAS GRILL )
)
)
Defendant(s) }
SUMMONS IN A CIVIL ACTION
To: Defendant's name and address) PROLOGIS, L.P. fik/a AMB PROPERTY

CiO CORPORATION SERVICE COMPANY. Registered Agent
1201 HAYS STREET

TALLAHASSEE, FL 32301-2825, United Siates.

A lawsuit has deen filed against you.
Within 21 days atter service of this summons on you {not county
the United States or a United States agency, or an officer or SS
‘a{2> or (3) — you must serve on the plaintiff an answer to the ait
the Federal 5 The answer or motion must 3e 3

5
whose name and address are:

Beverly Virues, ES

CiO Garcia-Menocal, ?.L.
356 Sevilla Avenue, Suite 206
Coral Gables, F! 33134
305-353-3464

you fail to respond, judgment by default will de entered against you for sae relief demanded in the complaint.
You also must file vour answer or motion with the court.

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SUMMONS

Date: 87/30/2024

s/ A. Rodriguez

Deputy Clerk
U.S. Distri¢? Caurts

